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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
                                    )
CITIZENS FOR RESPONSIBILITY         )
AND ETHICS IN WASHINGTON,           )
                                    )
            Plaintiff,              )   Civ. No. 1:11-951 (CKK)
                                    )
      v.                            )
                                    )   STIPULATION AND ORDER
FEDERAL ELECTION COMMISSION, )
                                    )
            Defendant.              )
____________________________________)

                            JOINT STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by and between the parties, pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii), that the above-captioned action shall be dismissed with prejudice.

This stipulation shall have no effect on plaintiff’s ability to seek attorney fees and costs.

Dated: August 12, 2013                         Respectfully submitted,


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